FEB 27 2024

CLERK, US BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
Tampa DIVISION

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UNITED STATES BANKRUPTCY COURT |

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MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
Inte:
HENRY BADAAN ‘Case No: 8:24-bk-00197-RCT
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Debtor(s).
— /

_ DEBTOR’S EMERGENCY MOTION FOR CONTEMPT FOR WILLFUL & WANTON
VIOLATIONS OF THE AUTOMATIC STAY, BAD FAITH, AND MISREPRESENTATION,
SEEKING SANCTIONS AGAINST RANDY FREEDMAN, SHUMAKER, LOOP & —
KENDRICK, LLP, AND JENAY E. IURATO, ESQ. DEBTOR ASKS THE COURT TO VACATE
THE ORDER GRANTING AMENDED MOTION FOR RELIEF FROM STAY FOR RANDY
FREEDMAN {DE 28] PURSUANT TO THEIR CLEAR VIOLATIONS OF THE STAY PRIOR
TO ITS ENTRYAND REINSTATE THE STAY SO DEBTOR MAY EVALUATE ALL OPTIONS,
INCLUDING REMOVAL OF THE STATE ACTION TO THIS COURT

Debtor, Henry Badaan. ("Debtor"), through undersigned counsel, requests that the Court enter

an order awarding damages’ against Randy Freedman and. Shumaker, Loop & Kendrick, LLP .

(“Plaintiffs”) pursuant to Sections. 362(k)(1) and 105 of the Bankruptcy Code and imposing sanctions

pursuant to Rules 9011 aiid 9020 of the Federal Rules of Bankruptcy Procedure, and Reinstate the Stay

as to Randy Freedman in order to protect. Debtor from the prejudice and tainted proceedings in that

court, which shall become evident pursuant to the. information presented. below,.and allow Debtor the

breathing room, he needs to détermine whether to seek Removal of the State Case'to this:honorable

court,

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. Introduction

Shame on Shumaker! While Franz:‘Kafka may reside in the halls.of Bank of America, See
Sundquist v. Bank of America, N.A., 566 B.R.563, 587 (Bankr. .D:Ca, 2017) (vacated in part due to the
settlement of the parties involved), the Willful ‘and Wanton violations of the Automatic Stay by one-of
Shumaker’s Partner Attomeys in the related state case, “sent the Debtor’ inthis case, along with his
family, into a similar Kafkaesque:nightmare of stay-violations, bad faith, and misrepresentation, Causing
_ the Debtor and his spouse pain and suffering-and severe emotional distress, leading to-a sense of
hopelessness, where even good faith gestures by the Debtor were ignored, as Shumaker committed Stay
atrocities, which the court will have little choice but to‘accept under judicial notice, being undeniable
and proved by the very. actions of Shumaker’s finest.

It is.a sad tale of David versus Goliath, where Goliath is a mighty law firm with 12 offices and
over 300. attorneys, and David is a weak fee monger, who once worked for Goliath, but failed to disclose:
this to the Debtor, with tio waiver of conflict to be found. While this alone may not suffice to show any
sort:of.conflict on its face, the numbers lead one'to wonder how a pre-lawsuit demand:of $1 74,999.00,
has turned into a feast of ‘billable hours, leading to. over $500,000.00 being collected from the Debtor,
before even reaching trial. Then, a demand for an additional $500,000.00 from Debtor'to-continue
through trial. Thus, making the-$5,000.00 retainer ‘paid by Debtor in that case‘grossly undervalued and
likely the bait for hooking the $400,000.00 already paid. This forced the Debtor to waive the white. flag
and seek the protection of this Court If Plaintiff's fees are anywhere near that of Defendant in the State
Case, then a mere $174,999.00 demand has turned into a windfall ‘for the attorneys involved, likely to

‘surpass over $2,000,000:00 (TWO MILLION DOLLARS) combined, whem all is said and done, if they.
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beallowed'to pontine the abuse, Steteny 019490800 demand, which received no offer of
settlement whatsoever Pre-suit, and litigation with novend in sight, makes one wonder.

Debtor asks this Court to puta halt to the horrific actions by Plaintiff and seeks compensatory
damages, damages for pain and suffering, severe emotional distress, attorney's fees, and punitive
damages in an amount sufficient to send. a clea signal to the powerhouse Jaw firms that even they must
play: by the males, and that violating the Automatic Stay, particularly with clear knowledge of the Stay,

will lead to severe re Consequences,

Principal Sanctionable Actions

The two principal sanctionable actions that are the subject of this Sanctions Motion are:

a. The filing ofa bankruptcy case operates as an. automatic stay against most:entities from, among

other actions,."any act to. collect; assess, or recover'a claim agaist the debtor that arose before
the cominencement ofthe éaxeunder this title." 1 1US.C. §362(a).

b. Ifaparty willfully violates the automatic stay a debtor who is injured by thé willful violation
is-entitled to. recover his or her-actual damages including costs-and attorneys! fees, and if
appropriate, may also recover punitive. damages. 11 U:S.C. § 362(k). A violation. of the
automiatic stay is willful if (1) the party. knew the automatic stay was invoked and.(2) intended
the actions which violated the stay. Jn're Jove Engineering, Inc., 92 F:3d 1539, 1555 (11th Cir.

1996).-A creditor must not only cease:the act that would violate the stay, "it mustalso take all
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necessary affirmative action to stop the proceedings. which are in violation of the automatic
stay." In re Briskey, 258 B.R. 473, 477 (Bankr. M.D.Ala. 2001).

The instant Bankruptey case was filed on January 16, 2024, and a Suggestion of Bankruptcy
was immediately filed in Case Number 21-CA-005298, Randy Freeman v. Henry Padan, et
al., in The Circuit Court of The Thirteenth Judicial CircuitIn And For Hillsborough County,
Florida.

A. suggestion of bankruptcy was.also filed in the state:case on January 16, 2024, [See Exhibit
A]

It is the Debtor’s position that all pending and future activity.in the state case should have beeri
canceled immediately upon the filing of the suggestion of bankruptoy. Even when a matter in
the state court:is stayed, the stay does not prevent the state court from holding periodic status
hearings to determine whether. the stay is still in effect. See, e.g., In.re Peters, 101 F.3d 618,
619:(9th Cir. 1996).

The Violations committed ‘in this case precisely illustrate why ALL activity MUST come to a
halt to prevent any injustices to the Debtor.

Between: the time the-Suggestion of Bankruptcy. was-filed, and the instant case was ‘initially.
Dismissed on February 7,2024; the State Court docket shows-9 (NINE) separate entries, ranging
from:

* Motion to Strike filed on 1/18/24 by Debtor’s State‘Court Counsel. [Exhibit B]

* — Order Granting Motion to Strike filed on 1/22/24, [Exhibit:C]

. Motion to withdraw as attorney for Defendant filed on 1/19/24 (with attached suggestion
-of bankruptcy as exhibit), [Exhibit D]

* Notice of withdrawal of Plaintiff's Second Motion for Summary Judgment filed on
1/19/24, [Exhibit E]

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Response to the Motion to ‘Withdraw by Jeff Fabian, @ Partner with Shumaker, Loop &

Kendrick, LLP, filed on 1/26/2004. [Exhibit F]

Hearing on the motion-to withdrawal as counsel held on 2/6/24.

Order granting withdrawal, granting only 20 days for the: Debtor to find new counsel on

2/6/24. {Exhibit G]

Notice of Continuance of Pre-Trial Conference, filed 0 .

but clearly anticipating relief bein g that the date was set'to 9/8/24 (prior to obtaining relief

Jrom stay). [Exhibit H]

*  Motion'to Extend Tinie filed by the Debtor Pro-Se, on'2/8/24, (a8 continuation of the Stay
Violation on February 7, 2024). This motion was Drafted by His Former Counsel Who
Had Withdrawn From His Case. [Exhibit ]]

Debtor hereby asks the Court to take Judicial Notice of Exhibits [!-xxx] all related to state Case

12/6/24, prior to obtaining relief,

Number 21-CA-005298, Randy Freeman v. Henry Badaan, et. al., in The Circuit Court of The
Thirteenth Judicial Circuit In and For Hillsborough County, Florida., pursuant to Rule 201 of the
' Federal Rules of Evidence, which state, “The court may judicially notice a fact that is not subject
to. reasonable dispute because it: (1) is generally known within the trial court’s territorial
jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned. These factors are easily met.as the Exhibits are relevant Court
Documents from the related civil case and further are excepted from Hearsay as statements from
party opponents.
The Willful and Wanton Violations of Stay worsen when Jeff Fabian references ‘the instant
Bankruptcy case on page 2, paragraph 2, of Plaintiffs Response in Opposition for Defense
Counsel to Withdraw, when stating, “Freedman and Badaan have actively litigated this case Jor
over two.and a half years before Badaan filed a Suggestion of Bankruptcy on January 16, 2024.
See Suggestion of Bankruptcy, Doc. 509 Jan. 16, 2024). {Exhibit F] Showing clear. knowledge

and awareness of the Stay he is-in the process of violating through his undeniable actions. Not
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only does he referetice the instant Banktuptey in paragraph 2; but them references it again in
paragraph 6, “Prior to Badan fi ing.a rnggeston of bankruptcy, ” paragraph 8, “Freedman fled
a motion in the federal bankruptcy court seeking to lift the automatic stay PUr suant to 11 USC.

§ 362.” Does this now mean that merely filing your motion for relief gives you an extra special,
free, pre-hearing grace period while waiting for your motion for Relief to be heard? Then again
in paragraph 9, “Ms. Jurata is in the best position to take this case to irial if Freedman ts granted
relief from the automatic stay.” In paragraph 10, “The only alternative would be for any newly
retained counsel to request.a stay or continuance of this case that would impact the bankrupicy
proceeding: by delaying a determination of the.amount of the debt at issue in that proceeding,”

On this point Debtor agrees completely, but not as to: the Violation, but rather, to one of Debtor’s
assertions.as to why the State case ihinst be Removed to. this Court.

Mr. Fabian then_goes on to insult this Court by conducting almost two pages of Bankruptcy Stay:
analysis in “Section IL. Discussion.” The Debtor would’like to.once again concur with some-of
Mr. Fabian’s arguments, including, “Whether cause exists to grant stay relief is determined ona
case by case basis based upon the totality of the circumstances. in each particular case,”

“Equitable considerations, such as balancing prejudice to the debtor against hardship to the

moving party, and judicial economy considerations, are relevant in determining whether-to lift

the stay.” It is clearly being established that the Debtor has been severely: prejudiced:in the State
case. A neutral review of these actions could lead to no other conclusion.

Mr. Fabian does not let up, pushing the bounds even further by arguing that Relief would be
proper-as to Randy Freeman because his. CLAIMS for compensatory damages alone would-push

the Debtor above the Unsecured Debt ceiling for Chapter 13. Apparently, it is no longer

important to'win the:case first:

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Another position Debtor also cOficurs with, as this Court is best suited to handle all aspects.

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related to the Debtor and the Estate. Then Mr: Fabian adds that Punitive Damages have also been
requested. Debtor does not deny that right, in fact farther:thanks Mr. Fabian. for his support
towards establishing the Punitive damages being sought here. He concludes by stating that "For
at least these reasons, Freedman submits that the bankruptcy court ts likely to grant relief from
the stay.” Thisegregious violation: speaks for itself.

Jeff Fabian should have known better. He aust be held-to @ much higher standard than the.
average creditor, especially being a Partner. Unbelievably, of the more than Three Hundred (300)
‘attorneys employed by Shumaker; NINETEEN (19). of them practice bankruptcy as of the time
of this motion, that list:includes:

‘Steven M Berman, Esq.
Stefan Beuge, Esq.
Ronald.D.P: Bruckmann, Esq.
Elizabeth R. Bursa, Esq.
David-H. Conaway, Esq..
David J Coyle, Esq.

Jason W. Davis, Esq.

Hugo S. Debeaubien, Esq.
David Delrahim, Esq.

Mark D. Hildreth, Esq,

Sara S. Jawad, Esq.

Regina M Joseph, Esq.
Thomas Kirkham, Esq.

John N Mackay, Esq.
Elizabeth S:Moore, Esq.
Francis Morency, Esq..

Seth P Traub, Esq.

Jay B Verona, Esq.
Thomas M Wood, Esq.

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Surely Mr. Fabian hada minute to contact any of these learned professionals to get their advice.
At-the very least, he should have'reached out to one of the SEVEN (7) paralegals who ‘work for

Shumaker and also handle Bankruptcy- matters. It is very likely that any one of them would have
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advised a better stratepy than'the one taken by Mr. Fabian.
Attomey Jenay Turato, Esq. represented Debtor in the State Court action. Ms. Iurato’s violations
are Clear and indisputablé and ‘speak for themselves:

Motion to Strike filed on 1/18/24 by Debtor’s State Court Counsel. [Exhibit B]
Motion to withdraw as attorney for Defendant filed on 1/19/24 (with attached suggestion
of bankruptcy as exhibit), [Exhibit D]
Hearing on the motion to withdrawal as:counsel held on 2/6/24.
. Motion to Extend Time filed by the Debtor Pro-Se, on 2/8/24, (as continuation of the
Stay Violation on February 7, 2024). This motion was Drafted by His Former Counsel
Who Had Withdrawn From His Case. [Exhibit I]
One thing is‘clear, all parties should have-sought Relief from Stay. And if you move for relief,
be sure you have it before you commit flagrant violations of Stay.
The atrocities in this case are indisputable: proof that upon filing a Bankruptcy petition, every
docketed, pending or scheduled event in a State Court Case, including, but not limited to, all
scheduled notices, motions, responses, depositions, hearings, orders, trials, status coriferences
(other than a status conference to determine whether the Stay is still in effect, “stay does not
prevent the state court from holding periodic status hearings to determine whether the stay is
still in effect.” See, e.g., In:re Peters, 101 F.3d 618, 619 (9th Cir. 1996)), must be considered
“the commencement or continuation, including the issuance or employment of process, of a
judicial, administrative, or other action’ or ‘proceeding against the debtor,” as was intended.
pursuant to.362(a)(1), and this Court should hold that State:Courts MUST cancel everything on:
the docket ‘until-further notice from the Bankruptcy Court: This would relieve the State Court

Judges. from the unenviable position of ‘having. to try to decipher the Bankruptcy ‘Code to
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determine w Stay 1
termine whether a.Stay remains in effect

a. Let’s begin with the “lack of soul” showed by hum ‘ker On-march'28, 2022, Jeff Fabian filed
a motion that sought, among: other things, Sanctions against Debtor Defendant. The issue
appeared to be a-doctor’s note that restricted the Debtor to “No Stress / light Duty” for a period
of eight weeks beginning on March 9, 2022, due to.a cardiac ablation. In support of his argument,
Fabian stated, “More to the previous point, neither Badaan nor his doctor’s note indicate that
Badaan should refrain from his work activities in selling products online. Badaan’s continued
work activities involve sitting at a computer terminal processing customer orders, packaging and
mailing products, updating and creating online product listings, placing orders for inventory,
responding to emails from customers and suppliers, designing and publishing marketing
with suppliers and customers. These types of activities are certainly commiserate. with the
supposed burden that Badaan would face in participating in discovery by reviewing and
downloading. documents and answering questions during a remote video: deposition. ”[ SEE
EXHIBIT J]

b. That statement is nof orily reprehensible, but almost inhumane! How dare: they analogize
‘performing a.normal every day task-one is. comfortable with, to having to review discovery in
preparation for deposition during hostile litigation? Assuming that commiserate was a typo, since
the words means “to sympathize,” let’s:substitute “comparable” instead and the question again.

No, it is inno way comparable. Every practicing attorney in this state wishes that statement were

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s ever filed for

also referred to as counselors, Not a single consumer bankruptcy Debtor ha

bankruptcy Who wasn’t anxious ‘in-anticipation of even the simplest 341 Meeting of Creditors, .
Shame on Shumaker once again! How arrogant has the culture at that firm become for this to
‘even be considered an ethical argument? Apparently, the-executives at Bank of America do not
standalone, and must share the Kafkaesque Realm with Shumaker, oop & Kendticks LLP. This

statement alone is proof beyond doubt about everything wrong with the state case, Which has

been tainted and why the debtor is being severely prejudicéd and has likely been fighting: a
hopeless battle: to this very day. This atrocity is ant example of one of the ptimary reasons the

automatic stay exists. The drafters must have known that at some point in time David would

need assistance in taking down the Goliath. That time has-come.

Debtor once again asks the Court to take Judicial Notice of Exhibit J. Heck, Debtor asks that the

Court take Ethical Notice, Moral Notice even just plain Human Notice, and. how Shumaker has:
bypassed each:of them in this flagrant disregard for fair play. Shame on Schumacher! Shame on

every attorney practicing:in this country who force litigants to suffer needlessly. Shame-on the

Goliaths:who do not play fair.and-most of all shame on the attorneys who take advantage of the

Davids of the world, and charge a ridiculously small sum to retain them. only to deplete

everything they have worked for by continuing with needless litigation and continuing to collect

fee after fee’after fee while billing-hour after hour after hour, which leads to night after night

after night of sleeplessness, misery, depression, and hopelessnéss for their own clients.

The Honorable Christopher M. Klein said it best. “In the calculus. of reprehensibility, Bank-of

America's intentional conduct adds up to reckless and callous disregard:for the rights of others.

Bloom, 875 F.2d at'228. It has been wanton and oppressive. Snowden, 769 F.3d at'657. This.

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Canates with a high degree of reprehensibility. State Farm, 538 US. at 418, 123 S.Ct. 1513,
citing Gore, 517 U.S. at 575, 116 S.Ct, 1589. The high degree of reprehensibility, coupled with
the significant involvement by the office of the Bank of America Chief Executive Officer, calls
for punitive damages of an amount sufficient to have adeterrent effect on Bank of America and
not be laughed off in the boardroom as petty cash or “chump change.” Sundguist v. Bank of
America, N.A., 566 B.R.563(Bankr.E.D.Ca. 2017) (vacated in part due to the settlement of the
parties involved). The only substitutions which need be made are “Shumaker, Loop and
Kendrick, LLP” for “Bank of America” and possibly “Golf Course” for “Board Room.”

The shameful actions continue throughout. While arguing that-Debtor’s State ‘Court Counsel
could not, in:the interest: of justice, be allowed to withdraw from representation .of Defendat
Debtor because it was too close to trial and she was the ONLY one who could possibly be
prepared in time. Then in opposition of Defendant Debtor’s motion to extend time to seek new
counsel, argue. the exact opposite and claim that Debtor does not need additional time and the
time given allows incoming counsel plenty of time to prepare. Clearly the positions are in
complete contradiction. to one another. Mistake? I think not, just-another example of. bad faith
and possibly misrepresentation to the tribunal.

Unfortunatély,-we shall never know if the honorable judge in the State Case would have called
them out on that point at the hearing. This is because, in the ONLY display of good faith to be
found in that case, and possibly anywheré throughout the dispute, Debtor withdrew his own
-motion'to extend time in the hopes of making everything go away through a fair settlement now
that his former attorney was no longer involved. But that. was just a pipedream. Shumaker
continued their unfair practices and continued along the state court docket, which should have

been canceled from day one, as if nothing had happened.

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Punitive Damages

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Where Congress authorizes punitive damages ina general manner, a8 in §:362(k\(1),
be presumed that it intends that punitive damages. be in an amount that serves the full
panoply of interests, including societal interests, that are vindicated by punitive damages,
In the end, itall adds up to a question of proof for the-trier of fact. If the court, in its capacity
as trier of fact, is persuaded that significant harm has-been clearly established.and that there
is a causal connection between the stay violation and the harm, then § 362(k)(1) damages
are appropriately awarded.

Debtors seek. an award of punitive damages. The. Court must award such damages
recognizing that’“[p]unitive damages should be awarded in an amount sufficient to serve
their purpose of deterrence . . . and must be tailored not only based upon the egregiousness
of the violation, but also based upon the particular creditor in violation.” Panek, 402 B.R. at
77 (quoting In re Curtis, 322. B.R. 470, 486. (Bankr. D. Mass. 2005)). Courts have found
circumstances. where parties arrogantly defy: the Bankruptcy Code-to be most-appropriate’
for the award of punitive damages, See id

Thus, the only-question as to punitive damages, is how much is enough ‘to make Shumaker
rethink its. actions and ensure changes .to their future behavior?

Shumaker, Loop & Kendrick, LLP has 12 offices. and over 300 attorneys. Their total
revenues in 2022 were approximatély $137,408,000.00. The Profit Per. Equity Partner was
$533,000.00 and their Revenue Per Lawyer was $565,000.00. Punitive damages based on
1% of total revenues would-be $1,374,080.00. A mere $4580.27 pet lawyer. Barely more

than a celebratory dinner ot weekend getaway. That would not send.a message the Partners
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the Automatic Stay, ous misrepresentations and even

acted in Bad Faith, and Made numer
contradicted himself. This case must send a clear warning. Attorney’s-must be held to a
higher standard, The Punitive Damages award must be one the Honorable Christopher M.
Klein would be proud of. Thus, Debtors ask this Court to award Punitive Datnages for an
amount no less than $6,870,400.00. Still a mere 5% of Goliaths revenues under 2022
standards, and an order to dismiss the State Court Case and release Debtor any related future
claims.
As for Jenay Iurato, Debtor seeks Punitive damages in an amount the court sees fit.
Debtor asks ‘that this-Court stop the Goliath in its tracks. In this‘Court they do not hold any
power. This Court must send.a clear message that the type of behavior displayed by them is
unacceptable and a perfect.example of the type of practice that gives all attorneys a bad

hame.

Accordingly, Debtor asks this Court to impose Punitive Damages for an amount no less

than $6,870,400.00, sanctions, attorney’s fees, and damages for emotional distress at its discretion

pursuant to. the egregious and wanton behavior of Shumaker, Loop and Kendrick, LLP. Debtor

further asks the Court to award compensatory damages in the arnount of $400,000.00 against

Jenay Iurato, for her bait and ‘switch tactics, bad faith ‘actions, and her knowing and willful

violation of the Automatic Stay. Lastly, Debtor asks for an Order Vacating the ORDER

GRANTING AMENDED MOTION FOR.RELIEF FROM STAY FOR RANDY:-FREEDMAN [DE

28], and for ‘any further relief the Court deems fit.

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